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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ATLAS AIR, INC. and POLAR AIR CARGO
 WORLDWIDE, INC.,                                       Civil Action No. 1:17-cv-01953-RDM


                                Plaintiffs,             Judge Randolph D. Moss
                v.

 INTERNATIONAL BROTHERHOOD OF
 TEAMSTERS; INTERNATIONAL
 BROTHERHOOD OF TEAMSTERS, AIRLINE
 DIVISION; and AIRLINE PROFESSIONALS
 ASSOCIATION OF THE INTERNATIONAL
 BROTHERHOOD OF TEAMSTERS, LOCAL
 UNION NO. 1224,


                                Defendants.



                                   JOINT STATUS REPORT

  I.   Joint Statement of the Status of the Case

       On July 5, 2019, the U.S. Court of Appeals for the District of Columbia upheld this

Court’s decision in Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 280 F.Supp.3d 59 (2017). Atlas Air,

Inc. v. Int’l Bhd. of Teamsters, 928 F.3d 1102 (D.C. Cir. 2019). On August 23, 2019, this Court

ordered that the parties file a joint status report on or before October 1, 2019, addressing what, if

any, further proceedings are necessary in this case.

       The parties disagree as to what, if any, further proceedings are necessary. Plaintiffs

assert that – in the absence of a stipulation with Defendants to convert the preliminary injunction

to a permanent injunction – this case should be resolved by motion for summary judgment with

no, or very limited, additional discovery. Defendants, on the other hand, do not agree to convert

the preliminary injunction to a permanent injunction and assert that it is necessary to set a



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discovery period and a final judgment trial on the merits. Accordingly, the parties submit this

Joint Status Report for the purpose of setting forth each side’s view of the case and scheduling

proposal.

 II.   Plaintiffs’ Statement Regarding Case Status and Further Proceedings

       Plaintiffs filed their Complaint and Motion for Preliminary Injunction on September 25,

2017, alleging that Defendants were engaged in an illegal concerted slowdown designed to gain

leverage for the Defendants in ongoing collective bargaining negotiations between the parties,

which slowdown was causing widespread and significant flight delays and a significant decline

in Plaintiffs’ operational reliability. This Court held a Status Hearing with the parties on

September 29, 2017. In that hearing, the Court informed the parties that it was “sympathetic to

the notion that if [Defendants] need discovery to put on [their] case and to challenge the

plaintiffs’ case, that we ought to be able to come up with some reasonable method to do that in

an expedited fashion, make sure it’s not too burdensome but that you get what you’re entitled to

and what you need.” (Dkt. No. 20 (Sept. 29, 2017 Tr.) at 12:17-22.)

       The parties complied with the Court’s direction that Defendants should obtain the

discovery needed to defend their position. As of the September 29 Status Hearing, Plaintiffs had

already produced all of the data files and information that Plaintiffs’ expert, Dr. Darin N. Lee,

had relied upon in preparing his expert report. (Id. at 24:17-25.) On October 2, 2017,

Defendants served Plaintiffs with 65 Requests for Documents and Other Information (the “65

Requests”). These Requests asked for a wide array of documents and information, such as

“Identified by date, flight number, aircraft type, and customer, number of delayed arrivals,” from

January, 2013 and through September, 2017,” or “Provide all Company Ops Bulletins and all other

Company communications to pilots relating to safety, scheduling, fatigue, sick calls, and taxiing of

aircraft for the period January 1, 2015 through the present.” (See Ex. A, attached hereto.) On


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October 6, 2017, Plaintiffs began a rolling production in response to these requests. Plaintiffs

produced additional documents and information on October 9, 10, 11, 12, 13 and 17, when the

production was completed. Two of the days’ productions were so large they could not be

completed by electronic mail, but instead were provided over a secure file transfer site. On

October 23, 2017, Plaintiffs produced their written responses and objections to the 65 Requests.

(See Ex. B, attached hereto.) Except for five requests for which Plaintiffs did not maintain data

sufficient to provide any response, and four requests for documents that were already in

Defendants’ possession (which requests Defendants agreed to defer), Defendants responded

substantively to all of the 65 Requests.

       At the October 31-November 2, 2017 preliminary injunction evidentiary hearing, the

parties submitted their witnesses’ direct testimony by sworn declarations, which by agreement of

the parties were exchanged in advance of the hearing in lieu of taking depositions. Each of the

principal witnesses, including expert witnesses for each party, also offered live testimony and

was made available for cross examination and questioning by the Court. (See Dkt. Nos. 53-55;

see also Dkt. No. 20 at 23:2-12; Dkt. No. 39 (Oct. 30, 2017 Tr.) at 6:8 -7:7.) This constituted a

considerable record. As the Court described in its November 30, 2017 opinion: “Following the

evidentiary hearing, the parties submitted post-hearing briefs, Dkt. 49; Dkt. 50, and proposed

findings of fact, Dkt. 47; Dkt. 48. The Union concurrently filed a motion to dismiss for lack of

subject matter jurisdiction. Dkt. 51. Atlas responded on November 14, 2017, Dkt. 52, and the

Union filed its reply on November 17, 2017, Dkt. 56. All told, although the case remains at a

preliminary stage, the record occupies over 5,000 pages.” Atlas Air, Inc. v. Int’l Bhd. of

Teamsters, 280 F. Supp.3d 59, 76 (D.D.C. 2017).




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       Plaintiffs assert that, given the extensive discovery that has already taken place, a

thorough record, fulsome briefing on all relevant legal issues, and a decision on those issues

upheld by the United States Court of Appeals for the District of Columbia, the best course is to

convert the preliminary injunction to a permanent injunction by stipulation of the parties (which

occurs in many cases of this type 1), and to avoid the needless burden of further proceedings. 2 In

correspondence dated September 12, 2019, however, Defendants informed Plaintiffs that they

“are not interested in converting the current preliminary injunction to a permanent one, as

[Defendants] continue to believe the company’s underlying case is without merit.” In the

absence of agreement with Defendants, Plaintiffs intend to file a motion for summary judgment

given that there are no material issues of fact in dispute and there is absolutely no need for a

second trial.

       Contrary to the suggestion in Defendants’ statement of position in this Joint Status

Report, Plaintiffs do not intend to file for summary judgment based upon facts adduced at the

preliminary injunction hearing alone, nor do Plaintiffs contend that the Court’s preliminary.


1
  See, e.g., US Airways, Inc. v. US Airline Pilots Ass’n, et al., Case No. 11-cv-371 (2011), Dkt.
Nos. 90, 91 (Court order granting joint motion to convert preliminary injunction to permanent
injunction); Spirit Airlines, Inc. v. Air Line Pilots Ass’n, Int’l (2017), Case No. 17-cv-60917,
Dkt. Nos. 24, 25 (Court order approving stipulation that temporary restraining order will remain
in place until completion of the RLA bargaining process; United Air Lines, Inc. v. Air Line Pilots
Ass’n, Int’l, Case No. 08-CV-4317 (2009), Dkt. No. 138 (Court order approving stipulation that
preliminary injunction will remain in effect until completion of RLA bargaining process; Delta
Air Lines, Inc. v. Air Line Pilots Ass’n, Int’l, Case No. 00-CV-03207 (2001), Dkt. No. 67
(following preliminary injunction, Court entered Consent Order staying proceedings pending
completion of RLA bargaining process; cf. American Airlines, Inc. v. Transport Workers Union
et al., 19-cv-00414-A, Dkt. No. 102 (Court held “[c]ombined preliminary injunction hearing and
non-jury trial,” pursuant to FRCP 65”); United Air Lines, Inc. v. Int’l Ass’n of Machinists &
Aerospace Workers, Case No. 00-cv-07265, Dkt. Nos. 105, 114 (2002) (preliminary injunction
remained in place without further proceedings).
2
  This case is procedurally unlike ABX Air, Inc. v. Int’l Bhd. of Teamsters, No. 16-CV-1096,
2016 WL 7117388 (S.D. Ohio Dec. 7, 2016), cited by Plaintiffs. In that case, a TRO hearing
was held one day after the motion for temporary restraining order was filed – without the benefit
of discovery or time to prepare. The Court agreed to convert the TRO to a preliminary
injunction on the plaintiff’s motion, but declined to convert it to a permanent injunction without
a “final chance to be heard on the merits.”


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injunction decision somehow “controls” or “locks in” this Court’s ultimate decision on whether

to grant a permanent injunction. Rather, Plaintiffs’ position is that the final judgment on the

merits can be resolved through the summary judgment process set forth in Rule 56 of the Federal

Rules of Civil Procedure, including materials in the existing record as well as any additional

record evidence and witness declarations presented by the parties. See Fed. R. Civ. P. 56(c).

This process would include any limited additional discovery that Defendants can demonstrate is

necessary for their opposition to the summary judgment motion, in accordance with Federal Rule

of Civil Procedure 56(d).

        At the September 29, 2017 Status Hearing, the Court expressed skepticism about the need

for additional discovery or a final judgment trial following a preliminary injunction trial: “… the

Court has limited resources. The notion of doing it twice is not ideal. My suspicion is although

this is a lot of pressure to get it done quickly, that I don’t care how big the case is, in virtually

any case what’s really important comes down to 10 or 15 documents and a couple of important

witnesses. There ought to be some way to try and boil it down to that. You can come back for

another hearing a year down the road and it can go on for two weeks. My suspicion is at the end

of the day that the further evidence is not going to be all that significant, because just based on

experience you can boil these things down. But we’ll have to see.” (Dkt. No. 20 at 39:11-23.)

        Plaintiffs agree with the Court’s comments in this regard. Plaintiffs submit that given the

extensive discovery that has already occurred, there is little, if any, non-repetitive discovery that

would be required for resolution of this case on the merits. Any further evidence is not possibly

going to be significant – the material indisputable evidence at the preliminary injunction hearing

included written communications to the pilots expressly encouraging a concerted slowdown to

leverage collective bargaining, and operational data showing a statistically significant (i.e.,




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concerted) change in pilot behavior starting when collective bargaining began. These facts —

upon which this Court and the Court of Appeals relied in determining that Plaintiffs were likely

to prevail on the merits — will not change. And further legal argument by Defendants will also

be unavailing – the D.C. Court of Appeals has rejected each and all of the Defendants’ legal

arguments, including regarding the status quo standard under Section 2, First of the Railway

Labor Act (“RLA”), the major/minor dispute distinction under the RLA, and the Norris

LaGuardia Act’s requirements and restrictions.

       Contrary to Defendants’ position, section 107 of the Norris-LaGuardia Act does not

preclude summary judgment where, as here, the Plaintiffs’ witnesses have already been subject

to cross examination at the preliminary injunction hearing and, as Plaintiffs will demonstrate, no

material issues of fact are in dispute. 29 U.S.C. § 107; cf. Burlington N. & Santa Fe Ry. Co. v.

Bhd. of Maint. of Way Employes, 143 F. Supp. 2d 672, 689-90 (N.D. Tex. 2001), aff'd sub nom.

Burlington N. & Santa Fe Ry. Co. v. Bhd. of Maint. of Way Employees, 286 F.3d 803 (5th Cir.

2002) (“there does not need to be adherence in an RLA injunction case with the open-court

hearing feature of § 107 if there is no dispute about the reliability of the evidence [because]

‘[t]he purpose of section 107 is served if the evidence is inherently reliable and there is no harm

to the parties.’ . . . Here, the court’s summary judgment rulings are being made on the basis

of undisputed evidence; and, BMWE has had ample opportunity to present whatever evidence it

might wish to adduce in opposition to the evidence plaintiffs have put in the summary judgment

record.”) (quoting Delta Air Lines, Inc. v. Air Line Pilots Ass’n, Int’l, 238 F.3d 1300, 1311 (11th

Cir. 2001)).

       Plaintiffs therefore request a scheduling order that allows Plaintiffs the opportunity to file

a motion for summary judgment, and that no trial or related dates be scheduled prior to




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resolution of the motion for summary judgment. Under this procedure, if summary judgment is

granted, the parties and this Court will be spared the time and expense of preparing for a second

unneeded trial.

       Plaintiffs also request a scheduling order that allows no additional discovery, given the

extensive discovery that has already been conducted, unless Defendants can demonstrate

specifically that such discovery is necessary for their opposition to summary judgment.

       Plaintiffs request that, if helpful to the Court, the Court set a status conference to address

the parties’ positions as to what further proceedings are necessary in this case.

III.   Defendants’ Statement Regarding Case Status and Further Proceedings

       Defendants assert that it is necessary to complete the remaining stages of the injunction

litigation in the ordinary course and that Plaintiffs’ improper attempt to further prejudice

Defendants’ defense here should be rejected. Defendants therefore seek a new scheduling order

allowing for the Defendants to file an answer and any counterclaim by November 15, 2019, and

setting a discovery period following a status conference hearing in October.

       A preliminary injunction is not an adjudication on the merits but merely a preliminary

decision made in expedited fashion with limited discovery. In Natural Resources Defense

Council v. Pena, 147 F.3d 1012, 1022-1023 (D.C. Cir. 1998) the D.C. Circuit explained that:

               [t]he purpose of a preliminary injunction is merely to preserve the relative
       positions of the parties until a trial on the merits can be held. Given this limited
       purpose, and given the haste that is often necessary if those positions are to be
       preserved, a preliminary injunction is customarily granted on the basis of
       procedures that are less formal and evidence that is less complete than in a trial on
       the merits. A party thus is not required to prove his case in full at a preliminary-
       injunction hearing, and the findings of fact and conclusions of law made by a
       court granting a preliminary injunction are not binding at trial on the merits.... In
       light of these considerations, it is generally inappropriate for a federal court at the
       preliminary injunction stage to give a final judgment on the merits.
       Quoting University of Texas v. Camenisch, 451 U.S. 390, 395, 101 S.Ct. 1830, 68



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L.Ed.2d 175 (1981) (citations omitted); accord Communications Maintenance, Inc. v. Motorola,

Inc., 761 F.2d 1202, 1205 (7th Cir.1985) (“A court must be cautious in adopting findings and

conclusions from the preliminary injunction stage in ruling on a motion for summary judgment

for two reasons. First, a court’s findings of fact and conclusions of law at the preliminary

injunction stage are often based on incomplete evidence and a relatively hurried consideration of

the issues. ... Second, the questions focused on differ in deciding a motion for preliminary

injunction and in deciding a motion for summary judgment. In the former, a court considers

whether there is a reasonable likelihood that the moving party will prevail on the merits; in the

latter a court considers whether there is any issue of material fact remaining after construing the

facts in a light most favorable to the non-moving party.”) (emphasis original; citations omitted).

        Hence, a district court’s decision to omit both discovery and a trial on the merits, thus

losing the opportunity to consider less severe equitable relief, has the same effect as would have

occurred had the Defendants been required to fully make their case at the preliminary injunction

hearing—a practice at odds with both the Federal Rules of Civil Procedure and the provisional

nature of preliminary injunctive relief. It is reversible error. NRDC v. Pena, supra, citing United

States v. Owens, 54 F.3d 271, 277 (6th Cir.1995) (“[W]e must vacate the permanent injunction

and remand this case to the district court to allow [the plaintiff] to conduct additional discovery

and present his version of the facts at an evidentiary hearing. Otherwise, we would create a rule

that would obligate a party to present his full case at a hearing for a preliminary injunction.”), cert.

dismissed sub nom. Spirko v. United States, 516 U.S. 983, 116 S.Ct. 492, 133 L.Ed.2d 418 (1995).

See, Wright and Miller, Relationship of the Preliminary Injunction Hearing to the Trial on the

Merits, 11A Fed. Prac. & Proc. Civ. § 2950 (3d ed.)(“Because it is likely that one or more of the




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parties will not present their entire case at an unconsolidated preliminary-injunction hearing, it

ordinarily is improper to decide a case solely on the basis of that type of a hearing.”).

        As this Court is well aware, Plaintiffs filed this action for a preliminary and permanent

injunction on September 25, 2017 after covertly preparing its statistical case against Defendants

for over a year, and drafting its voluminous preliminary injunction motion papers for months.

The Court recognized this at the September 29, 2017 status conference. (Dkt. No. 20, pg. 16,

lines 1-2; pg. 32, lines 13-15). Nevertheless, to guard against an alleged threat of disruption to

Plaintiffs’ holiday cargo deliveries, this Court set a prompt preliminary injunction hearing date

for October 31, 2017 with extensive pre-trial submissions commencing on October 23, 2017. The

Court afforded limited court time for the evidentiary hearing as well (Dkt. No. 20, pg. 22), as the

Court needed sufficient time to decide the case and issue an opinion before the holidays.

        Plaintiffs never moved to consolidate the trial on the merits under Fed. R. Civ. P.

65(a)(2). (Dkt. No. 27, line 11-13). The Union objected to such consolidation under these

onerous circumstances in any event. (Dkt. No. 20, pg. 27, lines 4-9). The Court considered such

consolidation at the status conference but decided against it in favor of an expedited preliminary

injunction hearing with limited witnesses and evidence. Indeed, the Court thus limited the parties

to expedited, partial discovery. (Dkt. 20, pg. 20).

        Concededly, Plaintiffs provided piecemeal discovery responses to Defendants well

through late October 2017, damaging Defendants’ opportunity to prepare its defense, including

the preparation of full, countervailing expert evidence. Defendants were thus unable to depose

Plaintiffs’ witnesses and could not perform further paper discovery in time. Instead, Defendants

were largely forced to submit declarations from their witnesses and register written objections to

Plaintiffs’ declarations.




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        Plaintiffs’ gambit here to deny Defendants discovery and file for summary judgment

based upon facts adduced at the preliminary injunction hearing alone is to be sure “at odds” with

the Federal Rules of Civil Procedure and the Norris LaGuardia Act, 29 U.S.C. § 107. First, the

court’s findings of fact and conclusions of law with regard to the preliminary injunction are not

binding at trial. Wright and Miller, supra. Based, as they usually are, on incomplete evidence

and a relatively hurried consideration of the issues, these provisional decisions should not be

used outside the context in which they originally were rendered. Consequently, it is inappropriate

for the court at a Rule 65(a) hearing to make findings of fact or conclusions of law that go

beyond what is necessary to decide whether a preliminary injunction should be issued. Id.

        Second, Fed. R. Civ. P. 56(d) provides that when a nonmovant shows by affidavit or

declaration that, for specified reasons, it cannot present facts essential to justify its opposition to

summary judgment, the court may (1) defer considering the motion or deny it; (2) allow time to

obtain affidavits or declarations or to take discovery; or (3) issue any other appropriate order.

Thus, it would be inappropriate here to deny Defendants the opportunity to conduct discovery

without affording them an opportunity to move for such relief, provide affidavit evidence in

support of discovery, brief the issue and be afforded notice and a hearing on such issues.

        Third, Defendants submit that they are entitled to a permanent injunction hearing under

the express terms of the Norris-LaGuardia Act, 29 U.S.C. § 107 as a matter of subject matter

jurisdiction. “Strict adherence to the Act's procedures is not a mere matter of form: A district

court has no jurisdiction under the Norris–LaGuardia Act to issue a labor injunction without

adhering to the explicit terms of the Act.” In re District No. 1—Pacific Coast District, MEBA,

723 F.2d 70, 76–77 (D.C. Cir. 1983). The Act requires, among other things, “the testimony of

witnesses in open court (with opportunity for cross-examination) in support of the allegations of




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a complaint made under oath.” 29 U.S.C. § 107. While Plaintiffs cite Burlington N. & Santa Fe

Ry. Co. v. Bhd. of Maint. of Way Employes, 143 F. Supp. 2d 672, 689-90 (N.D. Tex. 2001) for

the proposition that the Norris-LaGuardia Act’s open court hearing requirement is inapplicable

here in an RLA case, in reality the district court there ruled on undisputed facts and applied the

NLGA. In the present case, we merely have preliminary injunction findings by the Court which

are not binding for purposes of the merits. Wright and Miller, supra. Nothing in Burlington N. &

Santa Fe Ry. Co. supports the Plaintiffs’ heavy-handed attempt to quash discovery for trial here.

       Given the limited discovery afforded Defendants and severely expedited hearing on the

preliminary injunction, it is imperative that Defendants be afforded due process and a fair

opportunity to adequately develop the facts to defend the permanent injunction in accordance

with law. Defendants have cited no Railway Labor Act case which eschews this fundamental

right of Defendants to so defend themselves in open court, but simply cite other cases where the

parties voluntarily consented to abstain from further proceedings. But in ABX Air, Inc. v. Int’l

Bhd. of Teamsters, No. 16-CV-1096, 2016 WL 7117388, fn. 11 (S.D. Ohio Dec. 7, 2016), the

district court denied the plaintiff carrier’s similar request to convert a slowdown injunction under

the RLA issued after a TRO hearing into a permanent injunction, as the union should be afforded

its “final chance to be heard on the merits.” The pilots union here must be afforded the same

chance.

       While it has been recognized that initial preliminary injunctions decisions are subject to a

cognitive “lock-in” effect, K. Lynch, The Lock-In Effect of Preliminary Injunctions, 66 Fla. L.

Rev. 779 (2014), Defendants are confident that this Court recognizes that this case was a close

one at the preliminary injunction stage, particularly in light of Plaintiffs’ reliance on questionable

statistics. Indeed, Plaintiff’s motion for a preliminary injunction and expert evidence alleged six




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areas of alleged slowdown activity: 1) increased fatigue calls, 2) increased rejection of

inadequate crew meals, 3) increased maintenance “write-ups,” 4) increased “short-notice” sick

calls, 5) increased effort to fill open time, and 6) increased incidence of “blocking out” on time.

The Court rejected Plaintiffs’ baseless statistics and claims regarding fatigue calls, crew meals,

and maintenance write-ups. With respect to short-notice sick calls, the Court indeed noted that

the issue was a “close one.” Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 280 F. Supp.3d 59, 90

(2017). Tellingly, Atlas completely abandoned its anecdotal evidence of sick leave abuse during

the hearing and Plaintiffs’ expert concededly could not show an increase in sick leave usage (a

“sick out”). Rather, Plaintiffs were forced to concoct a “last minute” sick call metric that none of

the pilots union communications ever advocated for at all. Defendants should be permitted to

explore in discovery, for instance, whether the alleged increase in last-minute sick calls were

attributable to other causes, like the types of illnesses suffered or other factors. At this point,

Atlas has only identified aggregate last-minute sick calls. Time did not permit the pilots union to

explore these unidentified sick calls under the pressure of an impending preliminary injunction

hearing. Plaintiffs may be forced to abandon these claims at a trial on the merits just like they did

with respect to the anecdotal evidence they relied upon but then distanced themselves from at the

preliminary injunction stage of this proceeding. Indeed, as the Court noted at the outset,

               ...It is difficult, if not impossible, moreover, for the Union, Atlas, or the
        Court to determine whether a particular pilot could have provided earlier notice
        before calling in sick, whether a particular pilot is too tired to fly safely, or
        whether a pilot legitimately wanted to spend more time with her family and thus
        decided not to volunteer for an open flight for reasons wholly unrelated to a
        slowdown. ...

        Id. at 67.




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         Needless to say, there are a host of areas which Defendants must explore regarding

Plaintiffs’ claims and Defendants’ defenses, which are too numerous to outline here. 3 Those

areas were indeed too “difficult” to address in the rush of expedited discovery and in an

abbreviated hearing. Defendants could not defend on all fronts in the context of such an

expedited hearing as they could at a fair trial on the merits. In all fairness, the Court should avoid

the temptation of “locking in” to preliminary conclusions and should reject Plaintiffs’ invitation

to short-circuit the normal permanent injunction trial process, the rules of procedure, and the

protective provisions of federal labor law.

         Accordingly, Defendants respectfully request that the Court establish a new scheduling

order allowing for the Defendants to file an answer and any counterclaim by November 15,

2019, and setting a discovery period following a status conference hearing in October. In the

alternative, Defendants request that the Court afford them the opportunity to fully brief the issue

and for a hearing on this important question.

Dated: October 1, 2019


Respectfully submitted,

    By: /s/ Robert A. Siegel_______               By: /s/ James Petroff________
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3
    Fed. R. Civ. P. 26(b) provides broad discovery rights to Defendants:

Discovery Scope and Limits.

(1) Scope in General. Unless otherwise limited by court order, the scope of discovery is as
follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant to any
party's claim or defense and proportional to the needs of the case, considering the importance of
the issues at stake in the action, the amount in controversy, the parties’ relative access to relevant
information, the parties’ resources, the importance of the discovery in resolving the issues, and
whether the burden or expense of the proposed discovery outweighs its likely benefit.
Information within this scope of discovery need not be admissible in evidence to be
discoverable.


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